  1
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  6
      Attorneys for Creditor
  7   U.S. BANK TRUST NATIONAL
      ASSOCIATION, NOT IN ITS INDIVIDUAL
  8   CAPACITY BUT SOLELY AS OWNER
      TRUSTEE FOR RCF 2 ACQUISITION TRUST
  9
                               UNITED STATES BANKRUPTCY COURT
 10
                  NORTHERN DISTRICT OF CALIFORNIA - OAKLAND DIVISION
 11
                                                        Case No. 24-40209
 12    In re
                                                        Hon. William J. Lafferty
 13    Theya Prakashini Kanagaratnam,
                    Debtor.                             Chapter 7
 14
                                                        OPPOSITION TO DEBTOR'S
 15                                                     MOTION FOR SUMMARY
                                                        JUDGMENT (ECF No. 45)
 16

 17                                                     Subject Property:
                                                        2316 Lakeshore Ave Apt 16
 18                                                     Oakland California 94606

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 20
               U.S. BANK TRUST NATIONAL ASSOCIATION, NOT IN ITS INDIVIDUAL
 21
      CAPACITY BUT SOLELY AS OWNER TRUSTEE FOR RCF 2 ACQUISITION TRUST
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 23   (“Secured Creditor”) hereby submits the following Opposition to Debtor’s Motion for Summary

 24   Judgment (ECF No. 45).

 25      1. Debtor, Theya Prakashini Kanagaratnam (“Debtor”), filed a voluntary petition pursuant to
 26            Chapter 7 of the Bankruptcy Code on February 15, 2024.
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                      OPPOSITION TO MOTION FOR SUMMARY JUDGMENT (DE# 45)
Case: 24-40209      Doc# 46    Filed: 03/17/25   Entered: 03/17/25 15:05:54        Page 1 of 5
  1     2. On or about May 24, 2013, Theya Kanagaratnam (“Borrower”) executed a promissory note

  2        in the original principal sum of $304,200.00 (hereinafter “Note”) which was made payable
  3        to Quicken Loans Inc. (hereinafter “Lender”). The Note was and remains secured by a
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           recorded deed of trust (herein after the “Deed of Trust”) encumbering the real property
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           located at 2316 Lakeshore Ave Apt. 16, Oakland, CA 94606 (herein after the “Subject
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           Property”). Subsequently, Lender’s beneficial interest under the Deed of Trust was
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  8        transferred to Secured Creditor.

  9     3. On March 20, 2024, Paul Mansdorf, Chapter 7 Trustee, filed his Report of No Distribution.

 10     4. On June 5, 2024, this Court ordered the discharge of Debtor’s personal obligation on the
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           Note (ECF No.29).
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        5. On February 3, 2025, Debtor filed a Motion for Summary Judgment (the "Motion"),
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           challenging Creditor’s standing to enforce its lien pursuant to the Deed of Trust.
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        6. Pursuant to Federal Rules of Bankruptcy Procedure rule 7001(2), if Debtor wishes to
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 16        challenge the validity of Secured Creditor’s lien, she is required to bring an adversary

 17        proceeding, rather than filing a motion, particularly a motion such as Debtor's, in which
 18        she requests summary judgment without even referencing an underlying motion on which
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           to obtain judgment.
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        7. Additionally, because the Chapter 7 Trustee has already issued a report of no distribution,
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           and because this Court has already discharged the Debtor, the Subject Property is no longer
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 23        subject to the automatic stay, and is no longer subject to the jurisdiction of the Bankruptcy

 24        Court.

 25     8. Finally, Debtor’s Motion appears based upon a “sovereign citizen” theory (writing, for
 26        example, that she is “a woman of flesh and blood, standing on my own square, upon the
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           land of California Republic”). The Ninth Circuit Court of Appeals has rejected arguments
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                                                 -2-
                 OPPOSITION TO MOTION FOR SUMMARY JUDGMENT (DE# 45)
Case: 24-40209   Doc# 46     Filed: 03/17/25     Entered: 03/17/25 15:05:54        Page 2 of 5
  1          premised on the sovereign citizen ideology as meritless. (See United States v. Studley, 783

  2          F2.d 934, 937 n.3 (9th Cir. 1986); Bland v. Moffett No. 119CV01750JLTSKOPC, 2022 WL
  3          1198382 at *3 (E.D. Cal. Apr. 22, 2022), report and recommendation adopted, No.
  4
             119CV01750JLTSKOPC, 2022 WL 1507034 (E.D. Cal. May 12, 2022).
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         9. For the foregoing reasons, Secured Creditor opposes Debtor’s Motion.
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         10. Secured Creditor reserves the right to supplement this Opposition at or prior to any
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  8          hearing on Debtor's Motion.

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                                                  Respectfully submitted,
 10
                                                  Robertson, Anschutz, Schneid & Crane LLP
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      Dated: March 17, 2025                       s/ David Coats
 12                                               David M. Coats, (SBN 295684)
                                                  Attorney FOR Creditor U.S. BANK TRUST NATIONAL
 13                                               ASSOCIATION, NOT IN ITS INDIVIDUAL CAPACITY
                                                  BUT SOLELY AS OWNER TRUSTEE FOR RCF 2
 14                                               ACQUISITION TRUST

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Case: 24-40209    Doc# 46     Filed: 03/17/25     Entered: 03/17/25 15:05:54       Page 3 of 5
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      CAPACITY BUT SOLELY AS OWNER
  8   TRUSTEE FOR RCF 2 ACQUISITION TRUST

  9                             UNITED STATES BANKRUPTCY COURT
 10               NORTHERN DISTRICT OF CALIFORNIA - OAKLAND DIVISION
 11                                                         Case No. 24-40209
       In re
 12                                                         Hon. William J. Lafferty
       Theya Prakashini Kanagaratnam,
 13                 Debtor.                                 Chapter 7
 14                                                         CERTIFICATE OF SERVICE
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 20            I, Dvaid Coats, hereby declare as follows:

 21            I am an active member of the State Bar of California and I am not a party to the above-

 22   captioned case; my business address is 1 Park Plaza, Suite 600, Irvine, CA 92614.

 23            On March 17, 2025, I caused copies of the following document(s) to be served:

 24      1. OPPOSITION TO DEBTOR'S MOTION FOR SUMMARY JUDGMENT (ECF
            No. 45)
 25

 26      in the following manner on the parties listed below:
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                   OPPOSITION TO MOTION FOR SUMMARY JUDGMENT (DE# 45)
Case: 24-40209      Doc# 46     Filed: 03/17/25     Entered: 03/17/25 15:05:54         Page 4 of 5
  1         BY FIRST CLASS MAIL: Pursuant to Federal Rule of Bankruptcy Procedure 7004(b),
             I enclosed said document(s) in a sealed envelope addressed to the persons at the
  2          address(es) listed below, placed first class postage fully prepaid thereon, and deposited
             said envelope in a United States mailbox.
  3

  4

  5                   DEBTOR
  6                   Theya Prakashini Kanagaratnam, Pro Se
  7                   2316 Lakeshore Avenue #16
  8                   Oakland, CA 94606
  9                  BY ELECTROIC SERVICE (ECF):
 10
                      TRUSTEE
 11
                      Paul Mansdorf
 12

 13
                      US TRUSTEE
 14
                      Office of the U.S. Trustee/Oak
 15

 16          I declare under penalty of perjury under the laws of the United States of America that the
 17   forgoing is true and correct.
 18

 19          Executed on this 17th day of March, 2025.
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 21                                                /s/ David Coats
                                                   David M. Coats, (SBN 295684)
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                      OPPOSITION TO MOTION FOR SUMMARY JUDGMENT (DE# 45)
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